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   8
                          UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10
                                 EASTERN DIVISION
  11
        MOSES HEREDIA,                        Case No. 5:20-cv-02618-JWH-KKx
  12
                                              PLAINTIFF HEREDIA’S
                   Plaintiff,                 OPPOSITION TO DEFENDANT
  13
                                              MTK GLOBAL SPORTS
  14         v.                               MANAGEMENT, LLC’S MOTION
                                              TO SET ASIDE DEFAULT
  15
        MTK GLOBAL SPORTS                     Date:         April 8, 2022, 9am
  16    MANAGEMENT, LLC; MTK                  Courtroom:    2
        GLOBAL USA, LLC; GOLDEN               Judge:        Hon. John W. Holcomb
  17
        BOY PROMOTIONS, INC.; PAUL
  18    D. GIBSON; and DANIEL
  19    KINAHAN,

  20 Defendants.
  21
  22
  23
  24
  25
  26
  27
  28

                                 PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL
                                   SPORTS MANAGEMENT, LLC’S MOTION TO SET ASIDE DEFAULT
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   1
                                       INTRODUCTION
   2
   3         Defendant MTK Global Sports Management, LLC (MTK), via a special
   4 appearance, contests the Clerk’s February 2, 2022 entry of default against it on two
   5
     grounds both, under the umbrella of “good cause.” First, Defendant MTK claims
   6
   7 that it was not properly served, and second, it claims that it has meritorious
   8 defenses, notwithstanding its alleged service concerns.
   9
           Plaintiff Heredia argues that Defendant MTK is incorrect in both of its
  10
  11 beliefs, and respectfully requests that the Court deny the pending motion.
  12
  13                                  LEGAL STANDARD
  14
             Federal Rule of Civil Procedure 55(c) provides that a court “may set aside an
  15
  16 entry of default for good cause.” Fed. R. Civ. P. 55(c).
  17         In deciding whether to set aside an entry of default, a court’s good cause
  18
       analysis considers whether: (1) the defendant engaged in culpable conduct that led
  19
  20 to the default; (2) the defendant has a meritorious defense; and (3) the plaintiff
  21 would not be prejudiced by setting aside the default. See Franchise Holding II, LLC
  22
     v. Huntington Restaurants Grp. Inc., 375 F.3d 922, 925-926 (9th Cir. 2004).
  23
  24 Crucially, “[a]s these factors are disjunctive, the district court [is] free to deny the
  25 motion ‘if any of the three factors was true.’” See id. at 926, quoting American
  26
     Ass’n of Naturopathic Physicians v. Hayhurst, 227 F.3d 1104, 1108 (9th Cir. 2000).
  27
  28 If a defendant “has received actual or constructive notice of the filing of the action
         PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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   1 and failed to answer,” its conduct is culpable. Franchise Holding II, LLC. v.
   2 Huntington Restaurants Group, Inc., 375 F.3d 922, 926 (2004); Direct Mail
   3
       Specialists, Inc. v. Eclat Computerized Techs., Inc., 840 F.2d 685, 690 (9th
   4
   5 Cir.1988); (quoting Meadows v. Dominican Republic, 817 F.2d 517, 521 (9th
   6 Cir.1987)). As the first and second factors are true – and therefore against
   7
       Defendant MTK – Plaintiff Moses Heredia respectfully requests the Court to deny
   8
   9 the pending motion to set aside the entry of default.
  10
  11           A.       Defendant MTK Global Sports Management, LLC was properly

  12                    served, never answered, and therefore is culpable.

  13           A defendant’s conduct is culpable if it has received actual or constructive
  14
       notice of the filing of the action and intentionally failed to answer. TCI Group Life
  15
  16 Ins. Plan v. Knoebber Group, 244 F.3d 691, 697 (9 Cir. 2001). Defendant MTK
                                                      th


  17 (MTK) was properly served, received both actual and constructive notice of the
  18
     filing, and never answered. It is culpable.
  19
  20           Defendant MTK is headquartered in Dubai, United Arab Emirates (UAE).
  21 Plaintiff Heredia engaged Dubai counsel and, as stated in the declaration of UAE
  22
     attorney Jouslin Chibli Khairallah (attached as EXHIBIT A), Defendant MTK was
  23
  24 served three ways: by publication, courier1, and email. Ms. Khairallah is a lawyer
  25
  26   1
        Note that MTK’s “new” company Hoopoe Sports LLC License Number 782807 PO Box 454833 Al Barsha Post
       Office Dubai, UAE is the same exact address MTK has registered in Dubai and the same address it is using for its new
  27   contracts.
  28
           PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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   1 and the Owner and Manager of Khairallah Advocates & Legal Consultants, which is
   2 based in Dubai, UAE (Khairallah Decl. ¶ 3.) She declared that under UAE law,
   3
       service may be accomplished via a courier, email, or, if the person or entity to be
   4
   5 served has no fixed address, via publication of a notice via a newspaper. (Khairallah
   6 Decl. ¶ 7.)
   7
             Even if Defendant MTK is correct that service was made to the wrong
   8
   9 address, and even if Defendant MTK is correct that service by publication a
  10 newspaper was not appropriate (both of which Plaintiff Heredia does not concede),
  11
     Defendant MTK was still served by email three different times, and service by
  12
  13 email is a permissible method of service under UAE law. (Khairallah Decl. ¶ 7.)
  14         Ms. Khairallah declared:
  15
             “On October 2, 2021, I served a copy of the summons and complaint
  16
  17         defendant MTK via courier service, email, and via English/ Arabic
  18         newspapers. The email was delivered to r.reynolds@mtkglobal.com. This is
  19
             the email listed as the individual able to receive service of process and the
  20
  21         company contact on the applicable UAE DMCC Service License. I sent the
  22         same email on three separate dates, October 2, 3, and 10, 2021.” (Khairallah
  23
             Decl. ¶ 8.)
  24
  25         Defendant MTK claims that it never received the emails of service.
  26 (Reynolds Decl. ¶ 8.) However, Ms. Khairallah, as a lawyer who gave her
  27
     declaration under penalty of perjury, has everything to lose if she were to make a
  28
         PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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   1 false claim. EXHIBITS B, C, and D are copies of those emails as sent. One must
   2 conclude, therefore, that the emails were sent.
   3
             Defendant MTK merely declared in the Reynolds Decl. at ¶ 8 that at some
   4
   5 undetermined time, they searched for those emails and could not find them. They
   6 did not declare that they looked at their email server back-ups from the first half of
   7
       October 2021. Merely declaring that they cannot find the emails now does not mean
   8
   9 that they were not sent and did not reside on the Defendant MTK’s email server
  10 back in October 2021. Both declarations can co-exist and be correct by reference to
  11
     their different times, but that does not excuse Defendant MTK’s failure to answer.
  12
  13        In sum, a declaration under penalty of perjury by a UAE lawyer, stating that

  14 she emailed the summons on three different dates, should be conclusive proof that
  15
     those emails actually were sent. Defendant MTK was properly served, did not
  16
  17 answer, and is, therefore culpable. The entry of default should not be set aside
  18 based on Defendant MTK’s meritless claims over alleged improper service.
  19
  20         B. Defendant MTK Global Sports Management, LLC also was on
  21         Constructive Notice of the Filing and Failed to Answer.
  22
                   1. Paul Gibson
  23
  24         On or about June 3, 2020, Mr. Paul Gibson was appointed as Defendant
  25
  26
  27
  28
         PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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   1           MTK’s Chief Strategy Officer. 2 Per the attachments3 it is clear that Mr.

   2           Greely of the law firm VGC, LLP and Mr. Gibson were working together to
   3
               arrange professional contests on behalf of Mr. Diaz, in violation of the
   4
   5           applicable California law.

   6           Manager means any person who does any of the following:
   7           (a) By contract, agreement, or other arrangement with any person,
               undertakes or has undertaken to represent in any way the interest of any
   8           professional boxer, or martial arts fighter in procuring, or with respect
   9           to the arrangement or conduct of, any professional contest in which
               the boxer or fighter is to participate as a contestant; except that the
  10           term "manager" shall not be construed to mean any attorney licensed to
  11           practice in this state whose participation in these activities is restricted
               to representing the legal interests of a professional boxer or fighter as a
  12           client. Otherwise, an attorney shall be licensed as a manager in order
  13           to engage in any of the activities described in this section. (b) Directs
               or controls the professional boxing or martial arts activities of any
  14           professional boxer or martial arts fighter.(c) Receives or is entitled to
  15           receive more than 10 percent of the gross purse of any professional boxer
               or martial arts fighter for any services relating to such person's
  16           participation in a professional contest.(d) Is an officer, director,
  17           shareholder, or member of any corporation or organization which
               receives, or is entitled to receive more than 10 percent of the gross purse
  18           of any professional boxer or martial arts fighter for any services relating
  19           to the person's participation in a professional contest.
  20 Cal. Bus. & Prof. Code § 18628. (Emphasis added.)
  21
           Mr. Gibson was emailed a demand letter on or about February 18, 2021 along
  22
  23 with Mr. Gallegos (who represents Defendant Golden Boy Productions, Inc. in other
  24
       2
         See Attachment 1, Paul Gibson Appointed MTK Chief Strategy Officer, MTK Global (June 3, 2020),
  25   https://mtkglobal.com/mtk-global/paul-gibson-appointed-mtk-chief-strategy-officer/. MTK Global publicly
       announced the appointment of Mr. Gibson as its CSO—making it clear that Mr. Gibson is an agent of the company.
  26   3
         See Attachment 2. Email from VGC to Mr. Gibson where Mr. Greely specifically designates Mr. Gibson as
       Defendant MTK Global Sports Management, LLC’s point of contact on the negotiation team. Also neither Mr.
  27   Greely nor Mr. Gibson, nor MTK hold manager licenses in the State of California.
  28
           PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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   1 related matters) and Mr. Greely directly, and the initial complaint on or about March
   2 16, 2021. 4
   3
                 2. Throughout VGC’s representation of Diaz in Diaz v. Heredia, et al. case
   4
   5 no. 5:20-cv-02332-JWH-KK, Mr. Greely has routinely demanded that any
   6 settlement must include the dismissal of MTK Global as communicated to him both
   7
       directly and indirectly through Mr. Diaz. Mr. Greely also maintained repeatedly
   8
   9 that Plaintiff was unsuccessful in its efforts to serve both Mr. Kinahan and
  10 Defendant MTK, acknowledging that they were both aware of the lawsuit.
  11
          3. Defendant MTK Global Sports Management, LLC’ England Counsel Was
  12
  13 On Notice of the Lawsuit.
  14             Defendant MTK’s counsel, who was representing them in England was
  15
       contacted to request if they would accept service. Counsel then confirmed they
  16
  17 were not given the authority. The authority or denial of could only come from the
  18 client – Defendant MTK.
  19
            4. MTK GLOBAL USA, LLC Answered the Complaint.
  20
  21        Defendant MTK Global, USA, another of Defendant MTK Global Sports
  22 Management, LLC’s companies, answered the complaint on September 29, 2021
  23
     (ECF 55). In Defendant MTK’s motion to set aside the default, the Harris Decl. at
  24
  25 Exh. A acknowledges, via a copy of an email among counsel, that a “global
  26 settlement” was contemplated. It also denied that Daniel Kinahan was a noted
  27
  28
       4
           See Attachments 3-4 (Emails to Gibson from Federal Practice Group).
             PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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    1 member of the notorious Kinahan cartel or that he oversees the company's
    2 operations.5
    3
                5. Significant and Prominent Media Coverage Placed Defendant MTK
    4
    5           Global Sports Management, LLC on Constructive Notice of the Lawsuit.6

    6           On January 24, 2022, a newspaper article in the Sunday World, an Irish-
    7
        focused news site, discussed this lawsuit against Mr. Kinahan and properly noted
    8
    9 that this is the second time Mr. Kinahan has been served by publication. Mr.
                                                                              7


  10 Kinahan is known for being protective of his image. This lawsuit has been an
  11
     aggressively followed story and repeatedly reported on. Daniel Kinahan’s own
  12
  13 public statement on or about October 7, 2021 admits that he is still very much
  14 involved with MTK and his blanket denial of criminality: "I continue to be involved
  15
     in planning multiple record-breaking and exciting world title fights," he said in a
  16
  17 rare statement to Talksport earlier this year, adding later: "I'm not part of a criminal
  18
  19
  20
  21
  22    5
          See Attachment 5, Wikipedia.org, Daniel Kinahan (March 18, 2022), https://en.wikipedia.org/wiki/Daniel_Kinahan;
        (last visited March 17, 2022.) Mr. Kinahan’s Wikipedia page details his involvement in criminal activities—including
  23    his involvement in the Kinahan drug cartel.; See Attachment 6, Patrick O’Connell, Daniel Kinahan ‘named and
        shamed’ in Dubai newspapers as lawyers pressure cartel boss, Sunday World (Jan. 24, 2022),
  24     https://www.sundayworld.com/crime/irish-crime/daniel-kinahannamed-and-shamed-in-dubai-newspaper-as-lawyers-
        pressure-cartel-boss-41268515.html. Mr. Kinahan is described by the media as a “cartel boss.”
        6
          See generally Attachments 1, 6-27. There have been several news articles, published by a number of different
  25    sources, covering the lawsuit.
        7
          See Attachment 6, Patrick O’Connell, Daniel Kinahan ‘named and shamed’ in Dubai newspapers as lawyers
  26    pressure cartel boss, Sunday World (Jan.24, 2022),
         https://www.sundayworld.com/crime/irish-crime/daniel-kinahannamed-and-shamed-in-dubai-newspaper-as-lawyers-
  27    pressure-cartel-boss-41268515.html. Mr. Kinahan was served via newspaper publication twice and news of this
        publication was covered by the media. .
  28
            PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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    1 gang." Tyson Fury is an MTK Global fighter and Mr. Kinahan has allegedly been
            8


    2 integral in his return to boxing elite.9
    3
    4           C.       Defendant MTK Global Sports Management, LLC did not present
    5                    a meritorious defense.
    6
                Defendant MTK did not present a meritorious defense.
    7
    8           To justify vacating the default, Defendant MTK should have presented the
   9 Court with specific facts that would constitute a defense. See Franchise Holding II,
  10
     LLC at 926 (citing Madsen v. Bumb, 419 F.2d 4, 6 (9th Cir. 1969). Defendant MTK
  11
  12 never did so. “Instead, it offered the district court only conclusory statements that a
  13 dispute existed. A ‘mere general denial without facts to support it’ is not enough to
  14
     justify vacating a default of default judgment.” Franchise Holding II, LLC at 926
  15
  16 (quoting Madsen at 6).
  17            In particular, Defendant MTK made four attempts at defenses, all of which
  18
        fall flat under this Circuit’s law. First, they make the most general of denials:
  19
  20
  21    8
          Attachment 7, Alan Dawson, Tyson Fury’s association with suspected mob boss Daniel Kinahan overshadows
  22    Deontay Wilder fight week, Insider (Oct. 7, 2021), https://www.insider.com/tyson-fury-link-alleged-mob-boss-daniel-
        kinahan-revisited-2021-10. Mr. Kinahan himself has publicly stated that he has organized bouts for Tyson Fury—an
  23    MTK Global fighter.
        9
          See Attachment 8, MTK Global (March 18, 2022) https://mtkglobal.com/boxers/tyson-fury/. Tyson Fury is listed on
  24    MTK Global’s website as one of the company’s boxers; Attachment 7, Alan Dawson, Tyson Fury’s association with
        suspected mob boss Daniel Kinahan overshadows Deontay Wilder fight week, Insider (Oct. 7, 2021),
        https://www.insider.com/tyson-fury-link-alleged-mob-boss-daniel-kinahan-revisited-2021-10. The fighter's former
  25    trainer, Ben Davison, credited his comeback in boxing to the advisor, agent, and event promoter Daniel
        Kinahan. Davison said Kinahan was a "Godsend" to Fury, according to a new book; See also Attachment 9, Tyson
  26    Fury thanks Daniel Kinahan for organizing Anthony Joshua fight, Independent.ie (June 11, 2020),
        https://www.independent.ie/videos/archive-tyson-fury-thanks-daniel-kinahan-for-organising-anthony-joshua-fight-
  27    39275870.html. Tyson Fury, an MTK Global boxer, publicly thanked Mr. Kinahan for organizing his fight with
        Anthony Joshua.
  28
            PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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    1 “Despite the breadth of these allegations, none of Mr. Heredia’s claims have any
    2 merit and MTK Global has meritorious defenses against all of them.” (ECF 71-1,
    3
        page 13, lines 10-11.) They do not present any facts to support this conclusory
    4
    5 statement and therefore it fails as a purported meritorious defense.
    6         Second, Defendant MTK attached a declaration from one of its personnel, in
    7
        which Defendant MTK denies that it is a is a” front for a drug cartel and does not
    8
    9 engage in drug trafficking or money laundering. (Reynolds Decl. ¶ 10.) Rather,
  10 MTK Global is a legitimate and well-respected company that specializes in boxer
  11
     management, relations, training, and event promotions. (Id.)” (ECF 71-1, page 12,
  12
  13 lines 24-28.) This, too, is a general denial without specific facts to support a
  14 purported meritorious defense.
  15
           Third, Defendant MTK again used a declaration to state that the tortious and
  16
  17 negligent interference and inducement of breach claims of Plaintiff Heredia’s claims
  18 “all fail for a host of legal and factual reasons as well, including, again, the most
  19
     obvious one— namely, that MTK Global did not interfere in Mr. Heredia’s
  20
  21 relationship with Mr. Diaz. (Reynolds Decl. ¶ 11.)” (ECF 71-1, page 13, lines 10-
  22 11.) Instead, the declaration claims that the agreement entered into by boxer Diaz,
  23
     after he breached the agreement with Plaintiff Heredia, was with a different entity:
  24
  25 Defendant MTK USA, LLC.
  26          This statement misses the mark. Plaintiff Heredia’s allegations include
  27
        tortious and negligent interference and indument of breach; lack of privity of
  28
          PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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    1 contract is not a defense to these claims. Indeed, the whole point of a tortious
    2 interference claim is that there is a “valid contract between plaintiff and a third
    3
        party…[and] the defendant’s intentional acts designed to induce a breach or
    4
    5 disruption of the contractual relationship.” Ixchel Pharma, LLC v. Biogen, Inc., 9
    6 Cal.5th 1130, 1141 (2020) (quoting Reeves v. Hanlon, 33 Cal.4th 1140, 1152 (2004)).
    7
              Nor is it a meritorious defense that, as Defendant MTK essentially stated,
    8
    9 someone else entered into a subsequent contract, so they couldn’t have had anything
  10 to do with the initial underlying breach. (ECF 71-1, page 13, lines 5-9.) Plaintiff
  11
     Heredia alleged in his Second Amended Complaint that Defendant MTK and
  12
  13 Defendant MTK USA, LLC both engaged in the improper conduct. See, e.g.,
  14 Second Amended Complaint at ¶131 (count 5, tortious interference with contract),
  15
     ¶140 (count 6, tortious interference with contract), ¶147 (count 7, inducing breach of
  16
  17 contract); ¶153 (intentional interference with prospective economic relations); ¶161
  18 (count 9, negligent interference with prospective economic relations).
  19
           Finally, Defendant MTK argues that there are no damages in this case
  20
  21 because a related arbitration where Defendant MTK was not a party found that
  22 boxer Diaz was liable for certain breaches of his boxer-manager contract with
  23
     Plaintiff Heredia. (ECF 71-1, page 13, lines 10-11.) Defendant MTK does not
  24
  25 present a meritorious defense here, either. Whether there was a breach of contract
  26 between parties in privity is separate from the claims made by Plaintiff Heredia that
  27
  28
          PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
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    1 Defendant MTK is independently liable for its alleged actions in interfering with the
    2 underlying contract and inducing that breach.
    3
    4                                     CONCLUSION
    5
             Defendant MTK was properly served and did not present meritorious
    6
    7 defenses in its attempt to set aside the default entered against it. Plaintiff Heredia
    8 respectfully urges the Court to deny the pending motion.
    9
  10 Dated: March 18, 2022                     Respectfully submitted,
  11
                                               /s/ Rajan O. Dhungana
  12
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         PLAINTIFF MOSES HEREDIA’S OPPO TO DEFENDANT MTK GLOBAL SPORTS MANAGEMENT, LLC’S
                                                              MOTION TO SET ASIDE DEFAULT
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    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on March 18, 2022, I filed the foregoing Plaintiff Moses
    3 Heredia’s Opposition to Defendant MTK Global Sports Management, LLC’s
    4 Motion to Set Aside Default with the Clerk of the Court and sent a copy of such
   5 filing via the CM/ECF system.
            Furthermore, I sent a copy via email to the following:
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                                                              MOTION TO SET ASIDE DEFAULT
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  10 Dated: March 18, 2022
  11                                        Respectfully submitted,
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  13                                        /s/ Eric S. Montalvo
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                                                              MOTION TO SET ASIDE DEFAULT
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